 

UNITED STATES DISTRICT COURT
THE WESTERN DISTRICT OF VIRGINIA

ABINGDON DIVISION
UNITED STATES OF AMERICA )
Vv. Court No.
$7,500.00 IN U.S. CURRENCY

VERIFIED COMPLAINT FOR FORFEITURE IN REM
Now comes the plaintiff, United States of America, by and through its attorney, Krista
Consiglio Frith, Assistant United States Attorney, and brings this Complaint and alleges as follows
in accordance with Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

NATURE OF THE ACTION

 

1. This is a civil action in rem brought to forfeit and condemn $7,500.00 in U.S. Currency
to the use and benefit of the United States, pursuant to 21 U.S.C. § 881, for violations of 21 U.S.C.
§§ 841 and 846.

THE DEFENDANTS JN REM
2. The defendant property consists of the following property:
(a) Approximately $7,500.00 in U.S. Currency that was seized from Teresa Gail

Bickley on April 15, 2019, at East Main Street, Marion, Virginia, and is presently in the custody
of the United States Marshals Service at the Federal Reserve Bank.

JURISDICTION AND VENUE

 

3. This Court has jurisdiction over an action commenced by the United States under 28
U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C. § 1355(a).
4. This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

§ 1355(b).

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5. Venue is proper in this district pursuant to 28 U.S.C. §1355(b)(1) because the acts giving
rise to this forfeiture occurred in this district and pursuant to 28 U.S.C. § 1395 because the property
is located in this district.

6. Upon the filing of this Complaint, the plaintiff requests that the Clerk of Court issue a
Warrant of Arrest in rem pursuant to Supplemental Rule G(3)(b)(i), which the plaintiff will execute
upon the property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

BASIS FOR FORFEITURE

7. The defendant property is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6) as
property that is used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, a violation of 21 U.S.C. §§ 841 and 846 and/or pursuant to 21 U.S.C. § 881(a),
constitutes or is derived from proceeds traceable to a violation thereof.

FACTS

8. The facts supporting this Complaint are stated in the attached Declaration of Special

Agent Christopher A. Mueller, Drug Enforcement Administration, and are incorporated by

reference herein.

WHEREFORE, the United States of America respectfully requests that the Clerk of Court
issue a Warrant of Arrest in rem pursuant to Supplemental Rule G(3)(b); that due notice be given
to all parties to appear and show cause why the forfeiture should not be decreed; that judgment be
entered declaring the defendant property to be condemned and forfeited to the United States of
America for disposition according to law; and that the United States of America be granted such
other and further relief as this Court may deem just and proper, together with the costs and

disbursements of this action.

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THOMAS T. CULLEN

United States Attorney

s/Krista Consiglio Frith
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VERIFICATION
I am a Special Agent of the Drug Enforcement Administration, and one of the agents
assigned the responsibility for the above-captioned matter. I have read the contents of the
foregoing Complaint for Forfeiture, and the statements contained therein are true to the best of
my knowledge and belief.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 16th day of September, 2019

 

Christopher A. Mueller
Special Agent, Drug Enforcement Administration

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